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            NOT YET SCHEDULED FOR ORAL ARGUMENT
                                 No. 24-7059

                           IN THE
              UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

              MEDIA MATTERS FOR AMERICA & ERIC HANANOKI,
                                                             Plaintiffs-Appellees
                                      v.
         WARREN KENNETH PAXTON, JR., IN HIS OFFICIAL CAPACITY AS
              ATTORNEY GENERAL OF THE STATE OF TEXAS,
                                                            Defendant-Appellant

                             On Appeal from the
           United States District Court for the District of Columbia
                            Case No. 1:24-cv-147
                             Hon. Amit P. Mehta

                        BRIEF FOR APPELLEES

Abha Khanna                                Aria C. Branch
ELIAS LAW GROUP LLP                        Christopher D. Dodge
1700 Seventh Ave. Suite 2100               Samuel T. Ward-Packard
Seattle, WA 98101                          ELIAS LAW GROUP LLP
Telephone: (206) 656-0177                  250 Massachusetts Ave. NW, Suite 400
akhanna@elias.law                          Washington, DC 20001
                                           Telephone: (202) 968-4652
                                           abranch@elias.law
                                           cdodge@elias.law
                                           swardpackard@elias.law
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Theodore J. Boutrous, Jr.              Amer S. Ahmed
GIBSON, DUNN &                         GIBSON, DUNN &
CRUTCHER LLP                           CRUTCHER LLP
333 South Grand Avenue                 200 Park Avenue
Los Angeles, CA 90071                  New York, New York 10166
Telephone: (213) 229-7000              Telephone: (212) 351-4000
Email: tboutrous@gibsondunn.com        Email: aahmed@gibsondunn.com


     Counsel for Appellees Media Matters for America and Eric Hananoki




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      CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

I.      Parties

        Media Matters for America and Eric Hananoki are the plaintiffs in the district

court and the appellees in this Court. No parent company or publicly held company

holds a 10% or greater ownership interest in Media Matters for America.

        Ken Paxton, sued in his official capacity as Attorney General of Texas, is a

defendant in the district court and the appellant in this Court.

        Andrew Bailey, sued in his official capacity as Attorney General of Missouri,

is a defendant in the district court and is not a party to this appeal.

II.     Ruling Under Review

        Paxton appeals the April 12, 2024, order of the United States District Court

for the District of Columbia, the Honorable Amit P. Mehta presiding, preliminarily

enjoining Paxton from:

        (1)   enforcing a Civil Investigative Demand which Paxton served on Media
              Matters on December 1, 2023; and

        (2)   issuing any additional demands or otherwise taking steps purporting to
              mandate action on behalf of Media Matters; its officers, employees, and
              agents; or Hananoki.

The District Court’s Order is reproduced at JA822–23. The District Court’s

Memorandum Opinion is reproduced at JA781–820, is available on Westlaw at 2024

WL 1773197, and is slated for publication in the Federal Supplement, third series.



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III.   Related Cases

       This case has not previously been before this Court or any other court. There

are no related cases as that term is defined by Circuit Rule 28(a)(1)(C).

                                                 /s/ Aria C. Branch
                                                 Aria C. Branch




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                                INTRODUCTION

      Appellant Ken Paxton is right about one thing: this is a “remarkable” case.

Appellant’s Br. at 1 (“Br.”). Paxton, the Attorney General of Texas, has launched a

nakedly retaliatory investigation into Media Matters, a D.C.-based media watchdog

with no connection whatsoever to Texas. Paxton asserts a boundless right to

investigate Media Matters’s allegedly “misleading” reporting on rising extremism

and antisemitism on the social media platform X. But the circumstances of Paxton’s

investigation put the lie in that manufactured motive. Paxton announced his

investigation just one day after a conservative activist called on state attorneys

general to retaliate against Media Matters for reporting critically on X’s owner, Elon

Musk. Paxton immediately disparaged Media Matters as “a radical anti-free

speech … left-wing organization.” And Paxton even recruited a second state

attorney general, Missouri’s Andrew Bailey, to join his vendetta.

      The vehicle of Paxton’s retaliatory campaign is a civil investigative demand

(“Demand”) which he served on Media Matters in D.C. in late 2023. The Demand

is expansive in scope: without providing any basis for jurisdiction, it requires Media

Matters   to   produce    confidential   source   information,    sensitive   internal

communications, and privileged donor names and records; it operates, in effect, as

an ongoing command that Media Matters turn over to Paxton any material



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concerning its reporting on X or Musk. The Demand’s service promptly chilled

Media Matters and its reporters from their First Amendment–protected work,

causing Media Matters to spike follow-up stories, limit its coverage of X and Musk,

and change editorial processes.

        To redress that chill, Appellees Media Matters and Eric Hananoki, a senior

investigative reporter at Media Matters, sued Paxton to block the Demand’s

enforcement and moved for a preliminary injunction. 1 Plaintiffs assert claims under

the First, Fourth, and Fourteenth Amendments and the D.C. and Maryland reporters’

shield laws. After extensive briefing, detailed written testimony showing Media

Matters’s injuries, and a comprehensive hearing on the motion, the district court

enjoined Paxton from enforcing the Demand. The court found that Media Matters

was likely to prevail on, at a minimum, its First Amendment retaliation claim; that

Media Matters’s substantial, ongoing chill was an irreparable injury; and that the

equities favored protecting the free press and D.C. residents’ access to it.

        Paxton now appeals that injunction. But he spills little ink pretending his

investigation and Demand are legitimate. Instead, Paxton offers a litany of meritless

gatekeeping theories. Although Paxton directed his agent into D.C. to commit a




1
    Unless otherwise specified, “Media Matters” refers to both Appellees.

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constitutional tort, Paxton claims the D.C. courts lack personal jurisdiction over him.

Although Paxton’s Demand has chilled Media Matters from reporting about topics

and actors it has covered for years, Paxton claims its injuries are not ripe for redress.

And although a Texas proceeding would subject Media Matters to the jurisdiction

of a foreign state court that cannot afford complete relief, Paxton claims that Media

Matters has an adequate alternative remedy in Texas.

      At bottom, Paxton claims that he enjoys nationwide jurisdiction to

“investigate” media outlets and reporters he dislikes, while D.C. courts lack

authority to redress constitutional torts carried out in D.C. against D.C. residents.

Paxton is wrong on every count. D.C. courts have jurisdiction; this case is justiciable;

and Media Matters has no obligation to go to Texas to protect rights it exercises here.

This Court should affirm.

                               ISSUES PRESENTED

   1. Whether D.C. courts have personal jurisdiction over claims arising from
      Paxton’s dispatch of an agent into the District to further a constitutional tort.

   2. Whether venue is proper in the District.

   3. Whether Media Matters has an adequate alternative remedy in Texas state
      court that precludes federal injunctive relief.

   4. Whether Media Matters has stated a ripe claim for relief from a cognizable
      injury.

   5. Whether the district court abused its discretion by granting a preliminary
      injunction after finding that Media Matters was likely to prevail on the merits

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      of its First Amendment retaliation claim.

                             PERTINENT STATUTES

      Except for the following, all pertinent statutes are contained in the Addendum

to Brief for Appellant:

D.C. Code §13-421. Definition of person.

      As used in this subchapter, the term “person” includes an individual, his

executor, administrator, or other personal representative, or a corporation,

partnership, association, or any other legal or commercial entity, whether or not a

citizen or domiciliary of the District of Columbia and whether or not organized under

the laws of the District of Columbia.

D.C. Code §13-422. Personal jurisdiction based upon enduring relationship.

      A District of Columbia court may exercise personal jurisdiction over a person

domiciled in, organized under the laws of, or maintaining his or its principal place

of business in, the District of Columbia as to any claim for relief.

                           STATEMENT OF THE CASE

I.    Factual Background

      A.     Media Matters and Hananoki reported on the rise in hate speech
             and antisemitism on Twitter after its purchase by Elon Musk.

      In October 2022, Elon Musk—one of the world’s richest men—purchased the

social media platform then called Twitter. JA102. Musk promptly laid off around 80


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percent of Twitter’s staff, eliminating whole teams responsible for matters like

content moderation, trust and safety, and platform policy. JA102. Musk also

reinstated the accounts of white supremacists and conspiracy theorists. JA102.

Through such measures, Musk purported to be guaranteeing “the future of

civilization” by preserving humanity’s “common digital square.” JA102. Yet under

Musk’s stewardship of the platform he has since renamed “X,” hate speech,

antisemitism, and neo-Nazism have proliferated. JA102–03. Many advertisers have

fled in response. JA103. Musk reported “a 50% decline in ad revenue” in July 2023,

then reported that advertising revenue was “still down 60%” that September. JA103.

X’s inability to prevent advertisements from appearing alongside extremist content

was a key driver of advertisers’ flight from the platform. JA104. Dozens of different

media outlets published countless stories about such occurrences. See JA104

(collecting stories).

      For over two decades, Media Matters has monitored, investigated, and

reported on extremism, misinformation, and bias in the media. Hananoki, a senior

investigative reporter at Media Matters, focuses his reporting on extremism in

media. JA153. He has covered X—and before that, Twitter—for nearly a decade.

JA153. His reporting has been widely cited throughout the media and by government

agencies. JA153. Notably, Hananoki’s reporting on extremism has implicated



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Paxton directly. In 2020, Hananoki published an investigation revealing that a Texas

assistant attorney general in Paxton’s employ had been tweeting racist and violent

threats. JA154. Paxton’s office fired the attorney shortly afterwards. JA154.

      In 2023, Media Matters published over a dozen articles about X’s placement

of advertisements alongside hateful content. See JA155–57 (collecting articles).

Hananoki researched and wrote most of those articles, and his reporting was

consistent with what many other outlets had reported for well over a year. JA155.

On November 16, 2023, Hananoki reported the results of his most recent

investigation. Eric Hananoki, As Musk endorses antisemitic conspiracy theory, X

has been placing ads for Apple, Bravo, IBM, Oracle, and Xfinity next to pro-Nazi

content, Media Matters (Nov. 16, 2023). 2 The article included screen captures from

X showing, for example, pro-Nazi posts alongside ads for Apple and Xfinity:




2
 Available at https://www.mediamatters.org/twitter/musk-endorses-antisemitic-
conspiracy-theory-x-has-been-placing-ads-apple-bravo-ibm-oracle.

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Id. In the same article, Hananoki reported on a tweet in which Musk endorsed an

antisemitic conspiracy theory that Jewish people were working to replace white

Americans with minority immigrants:




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Id. Media Matters’s article immediately drew Musk’s ire. On November 18, Musk

announced that he planned to file “a thermonuclear lawsuit against Media Matters.”

JA158. Two days later, X sued Media Matters in the Northern District of Texas.

JA159.




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      B.    An activist urged “conservative state Attorneys General” to punish
            Media Matters for its reporting about X and Musk, and Paxton
            answered the call.

      Conservative figures rallied around Musk after he announced his suit against

Media Matters. On November 19, 2023, Stephen Miller, an aide to former President

Trump, implied that state attorneys general should exploit their authority to punish

Media Matters:




Just one day after Miller called on attorneys general to retaliate on Musk’s behalf,

Paxton announced that his office had launched an investigation into Media Matters

under Texas’s Deceptive Trade Practices Act. JA185. Paxton’s press release



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announcing the investigation derided Media Matters as “a radical anti-free speech”

and “radical left-wing” organization working “to limit freedom.” JA185. Paxton also

launched a media blitz to tout his retaliatory efforts. E.g., JA65. Most notably, he

encouraged other attorneys general to pile on Media Matters, telling conservative

activist Benny Johnson that “hopefully over the next couple weeks, you’ll see other

attorney generals look at this.” Id.

      Two days after announcing his investigation, Paxton issued the Demand to

Media Matters. He first mailed the Demand to Media Matters via FedEx but soon

after elected to have it personally served. JA408–09. On November 30, Paxton’s

process server called Media Matters’s president and informed him that she was

outside Media Matters’s headquarters in D.C. and wished to serve him. JA498. After

Media Matters’s president informed Paxton’s server that he was not in the office, the

server negotiated with Media Matters’s attorneys to serve the Demand at their

office—also in D.C. JA499; see also JA414–15.

      The Demand is remarkably broad in scope. JA177–83. It requires that Media

Matters produce on an ongoing basis all documents and communications dating back

to January 1, 2022, regarding X, Musk, or X CEO Linda Yaccarino. JA178, 183.

The Demand also requires Media Matters to produce all communications with

employees and representatives of X and ten other entities; documents concerning



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Media Matters’s internal operations, structure, expenditures, and reporting process;

and sources of funding for reporting on X. JA183.

      Media Matters responded to Paxton’s Demand on its return date, objecting to

the Demand in full as infringing on its free speech and press rights, its due process

rights, and its rights under the Maryland and D.C. reporters’ shield laws. JA205.

Media Matters also explained how the Demand was substantially chilling its First

Amendment–protected journalism. JA205; see also infra §II.D. (district court’s

detailed findings as to Media Matters’s chill). Paxton, in turn, responded by letter on

December 29, asserting unconstrained authority to investigate Media Matters.

JA210–12. According to Paxton, “a CID issued by the Attorney General’s Consumer

Protection Division is not limited by the Texas Rules of Civil Procedure”; Texas law

grants him “broad discretion in the overall breadth and relevance of the materials

that may be sought in the course of a pre-suit investigation”; and to set aside the

Demand in any Texas enforcement proceeding, Media Matters would need to

“establish that there were zero permissible justifications for the investigation.”

JA210.




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II.   Procedural History

      A.     Media Matters sued Paxton in Maryland but moved the case to
             D.C. after the Maryland court and Paxton both suggested that D.C.
             was the more appropriate forum.

      On December 12, 2023, the Demand’s return date, Media Matters and

Hananoki sued Paxton in the District of Maryland and swiftly moved for a

preliminary injunction. Media Matters for America v. Paxton, No. 8:23-cv-03363-

PX (D. Md. Dec. 12, 2023), ECF Nos. 1, 2, 20. Media Matters selected that venue

because Hananoki resides and wrote the November 16 article in Maryland. At a

hearing in January, the court first indicated that Media Matters had “pled enough for

this [matter] to be ripe constitutionally” and likely established “subject matter

jurisdiction,” JA221, but expressed concerns about whether Maryland courts had

personal jurisdiction over Paxton. The court recommended that, to obtain a

resolution “that is fast and fair to both sides,” the parties should “move [the case] to

D.C.” JA240. The court pointed out that Paxton had “served [the Demand] in D.C,”

JA228, had “directed [his] investigation to Media Matters in D.C,” JA239, and

appeared to have indicated “in [his] pleadings” that “there is personal jurisdiction in

D.C,” JA241.

      The court’s interpretation was well founded. Paxton argued that his “conduct

was not in any sense ‘aimed’ at Maryland—indeed, [the Demand] was issued to, and



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served in, the District of Columbia, where Media Matters resides.” JA278. And he

suggested that Media Matters “could have instead sued in its home—the District of

Columbia.” JA286. To obtain prompt relief, Media Matters accepted Paxton’s and

the Maryland court’s suggestion: on January 17, it dismissed the Maryland action

and refiled in D.C. JA02.

      B.     Media Matters moved for a preliminary injunction, and, after a
             hearing, the district court ordered additional briefing on whether
             Paxton was a “person” under the D.C. long-arm statute.

      Media Matters moved for a TRO and preliminary injunction one day after

filing the D.C. complaint. JA84–87. After Paxton agreed not to enforce the Demand

while the court considered the preliminary injunction, JA376, the district court

dismissed the TRO request as moot.

      The court held a hearing on the preliminary injunction motion on February

15, 2024. JA582. At that hearing, Paxton chiefly pressed an argument he had raised

in passing in his sur-reply: that he was not a “person” under the D.C. long-arm

statute, D.C. Code §§13-421, -423, and thus not subject to personal jurisdiction in

D.C. The district court called out Paxton’s inadequate briefing and pressed Paxton’s

counsel at length about whether the argument had been waived. JA611–12. But the

court concluded that the issue was “not an issue that’s going to go away” as the case

progressed, JA642, and so ordered supplemental briefing limited to the “person”



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question. See JA657–81.

        C.    Missouri Attorney General Bailey served a duplicative demand on
              Media Matters, and Media Matters added him as a Defendant.

        Meanwhile, on March 25, 2024, with Media Matters’s motion against Paxton

still pending, Attorney General Bailey copied Paxton’s playbook by issuing a civil

investigative demand of his own (the “Missouri Demand”). Bailey described the

Missouri Demand as “virtually identical” to Paxton’s Demand. JA698. And like

Paxton, Bailey derided Media Matters and its reporters as “radical ‘progressives’”

and “‘progressive’ activists masquerading as [a] news outlet[].” JA693. Bailey also

confirmed that he and Paxton are coordinating with one another, admitting in an

interview: “Yeah, certainly we’ve coordinated with Texas. Texas has launched a

similar investigation and we’re in talks with other states as well. This is a new front

in the war, in the fight for free speech.” ECF No. 46 at 10–11; see also ECF No. 64

at 4.

        After the District Court resolved the preliminary injunction motion against

Paxton (discussed below), Media Matters filed a supplemental complaint adding

Bailey as a Defendant. A preliminary injunction motion against Bailey is fully

briefed, and the district court heard argument on June 6. The motion remains

pending.




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      D.     The district court found that Paxton’s Demand was inflicting an
             ongoing, substantial chill on Media Matters and preliminarily
             enjoined its enforcement.

      The district court preliminarily enjoined Paxton from enforcing the Demand

on April 12, 2024. JA822–23. The court made extensive factual findings about the

injuries the Demand was inflicting on Media Matters. These findings were based

primarily on sworn affidavits from Hananoki and Ben Dimiero, Media Matters’s

Editor-in-Chief. Looking to this testimony—which, the district court ruled, was

“concrete and particularized,” and which Paxton “ha[d] not challenged”—the court

found that the Demand had chilled Appellees in several discrete ways. JA860.

      First, the Demand has chilled and continues to chill further coverage of X and

Musk, subjects at the core of Media Matters’s work. “Absent the [Demand], Media

Matters would have coordinated follow up research and reporting on Hananoki’s

November 16 Article, as well as the one that appeared the next day … but has limited

the scope of its reporting on the subject ‘for fear of additional retaliation.’” JA812

(quoting Dimiero). In particular, “Media Matters … would have published at least

two additional articles on the topics of Hananoki’s reporting,” including “X’s

placement of advertising alongside antisemitic, pro-Nazi accounts,” but “withheld

them due to concerns of further legal action.” JA812–13. Going forward, “other

stories, such as one concerning content moderation decisions made by X, ‘may go



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unreported on entirely.’” JA811–12 (quoting Dimiero).

      Second, the Demand has disrupted Media Matters’s editorial processes. Media

Matters’s “editorial team and leadership now engage in ‘greater internal scrutiny and

risk calculation’ when approaching stories that they otherwise would have published

after their normal vetting process, such as stories about media coverage of [Paxton’s]

anti-abortion actions in Texas.” JA811 (quoting Dimiero). Specifically, “since

[Paxton] announced the investigation, ‘Media Matters’s editorial leaders have pared

back reporting and publishing, particularly on any topics that could be perceived as

relating to the Paxton investigation.’” JA812 (quoting Dimiero). And “Media

Matters’ leadership and editorial team have since assumed a more significant role in

publishing decisions, which ‘has significantly slowed down their editorial and

publication process.’” JA812 (quoting Dimiero) (alteration accepted). Crucially,

Media Matters took “these steps out of fear of retaliation, not out of legitimate

concerns about fairness or accuracy.” JA812.

      Third, the Demand has forced Hananoki in particular “to curtail his

investigation and coverage of X out of fear of harassment, threats, and retaliation.”

JA812. Although Hananoki “has generated story ideas on related topics, he has ‘self-

censored,’ and ‘not pursued them due to the fear of further legal retaliation.’” JA813

(quoting Hananoki) (internal citations omitted). The Demand also impeded



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Hananoki’s “relationship with his editor and others at Media Matters, because of

concern that their internal communications regarding story ideas could be subject to

the [Demand].” JA813. Media Matters used to publish Hananoki’s work

“approximately once or twice a week,” but between “the [Demand’s] issuance on

November 22, 2023, and mid-January 2024, Media Matters had published only two

of his articles.” JA813. And other writers at Media Matters “have expressed concerns

that their investigations could serve as the basis for retaliatory legal action and that

their work product might be subject to investigative demands.” JA812.

      In all, the court found that Media Matters had “demonstrated the profound

chilling impact that the [Demand] has had on its news operations and journalistic

mission.” JA811. The court further found each of these “claim[s] of chilled

expression objectively reasonable.” JA817.

      On the law, the district court rejected all of Paxton’s shotgun-style threshold

arguments: that D.C. courts lacked jurisdiction over Paxton under the long-arm

statute or Due Process Clause; that venue was improper; that Media Matters could

not seek federal relief because it had an adequate remedy in Texas state court; and

that the case was not justiciable. The district court devoted particular attention to

personal jurisdiction, reviewing the history of the D.C. long-arm statute and

explaining why its definition of “person” includes state officials sued for injunctive



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relief. See JA790–98. After finding that Media Matters had satisfied all the Winter

requirements, JA815–20, the district court granted a preliminary injunction and

denied Paxton’s motion to dismiss. JA820, 822–23.

      Paxton noticed this appeal on April 22. JA825.

                      SUMMARY OF THE ARGUMENT

      I. D.C. courts have personal jurisdiction over Paxton. Paxton is a “person”

under D.C. Code §13-421 because that term encompasses state officers sued for

injunctive relief. That is how the term would have been understood when the statute

was enacted and how the Supreme Court has interpreted another congressional

enactment that uses the same term in a similar context. See Will v. Mich. Dep’t of

State Police, 491 U.S. 58, 71 n.10 (1989). Moreover, any other holding would

deprive D.C. courts of jurisdiction over many officer suits they have long

entertained.

      As a “person,” Paxton is subject to D.C. courts’ long arm jurisdiction on three

separate grounds: because he “transact[ed] … business” in the District by directing

a process server’s activities here, D.C. Code §13-423(a)(1); because he caused

“tortious injury” in D.C. “by an act or omission in [D.C.],” id. §13-423(a)(3); and

because he caused such injury while engaged in a “persistent course of conduct”

here, id. §13-423(a)(4). Subjecting him to personal jurisdiction comports with due



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process for the same reasons.

      II. Venue is proper in D.C. because “a substantial part of the events … giving

rise to the claim” occurred here: service of the Demand on Media Matters and the

chilling effect that ensued. 28 U.S.C. §1391(b)(2).

      III. Media Matters’s ongoing chill permits federal injunctive relief. None of

the doctrines or cases Paxton clumps together under the heading of Reisman v.

Caplin, 375 U.S. 440 (1964), suggests otherwise. Under Reisman itself, equitable

relief is proper because Media Matters has no other “adequate remedy.” Id. at 443.

The Texas remedy Paxton proffers would not allow Media Matters to bring all its

claims or obtain complete relief. And none of the other doctrines Paxton conflates—

ripeness, cognizable injury, and Younger abstention—precludes an injunction,

because Media Matters’s chill is a cognizable First Amendment injury ripe for relief.

      IV. The district court did not abuse its discretion by granting preliminary

relief. Media Matters is likely to succeed on the merits of its retaliation claim, as

Paxton concedes by failing to dispute the claim’s elements on appeal. Media

Matters’s chill is an irreparable injury, and Paxton does not argue that the district

court committed clear error in its findings about the scope or severity of that chill.

And the balance of equities and public interest favor protecting the First Amendment

rights of journalists in D.C.



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                            STANDARD OF REVIEW

      This Court reviews the district court’s “decision to grant the Plaintiffs’ request

for a preliminary injunction for abuse of discretion, its legal conclusions de novo,

and its findings of fact for clear error.” Huisha-Huisha v. Mayorkas, 27 F.4th 718,

726 (D.C. Cir. 2022).

                                    ARGUMENT

I.    Paxton is subject to personal jurisdiction in D.C.

      Paxton staked most of his argument below on personal jurisdiction, a strategy

he repeats on appeal. Like the district court, this Court should reject Paxton’s gambit.

Statutory context and case law confirm that Paxton is a “person” under the D.C.

long-arm statute; any other holding would uproot decades of precedent and leave the

equity jurisdiction of the D.C. courts in tatters. Because Paxton is a “person,” D.C.

courts have several bases to exercise long-arm jurisdiction. First, Paxton hired an

agent—a process server—and directed that agent’s activities towards Media Matters

in D.C. That was “transacting … business” sufficient to create personal jurisdiction

under D.C. Code §13-423(a)(1). Second, Paxton directed an intentional tort at Media

Matters in D.C. That creates jurisdiction under §13-423(a)(3) and (a)(4). For the

same reasons, exercising jurisdiction over Paxton comports with due process. Paxton

“purposefully availed” himself of this forum by directing his agent’s activities here,



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committing to a course of dealing here, and committing a tort here. Paxton’s self-

serving appeals to “federalism” do not change this calculus. To the contrary, his

claim of the right to investigate any journalist in the United States asserts “a pseudo-

national executive authority” that offends any proper notion of federalism. Def.

Distributed v. Grewal, 971 F.3d 485, 493 (5th Cir. 2020).

      A.     Paxton is a “person” under the D.C. long-arm statute.

      The district court rightly held that, because this lawsuit seeks prospective

injunctive relief, it renders Paxton a “person” amenable to the D.C. courts’ long-arm

jurisdiction. JA790–98; see D.C. Code §§13-421, -423. That conclusion follows

from the long-arm statute’s text and historical context, this Court’s reasoning in

United States v. Ferrara, 54 F.3d 825 (D.C. Cir. 1995), and the practical effects a

contrary holding would have on an array of officer suits in D.C. courts. Paxton’s

arguments for reversal on this point are thin gruel. He misstates case law, ignores

the district court’s thorough analysis of the ruinous effect Paxton’s reading would

have on D.C. courts’ jurisdiction, and falls back on inapplicable statutory canons and

vague notions of federalism.

             1.     Section 13-421’s definition of “person” limits the scope of the
                    D.C. courts’ entire civil jurisdictional scheme.

      D.C.’s long-arm statute grants its courts two kinds of personal jurisdiction:

general and specific. D.C. Code §§13-422, -423. Section 13-422, the general-


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jurisdiction statute, confers “personal jurisdiction over a person domiciled in,

organized under the laws of, or maintaining his or its principal place of business in,

the District of Columbia as to any claim for relief.” Id. §13-422. Section 13-423, the

specific-jurisdiction statute, confers “personal jurisdiction over a person, who acts

directly or by an agent, as to a claim for relief arising from” various enumerated acts.

Id. §13-423(a)(1)–(7). Both provisions share a statutory definition of “person”: “an

individual, his executor, administrator, or other personal representative, or a

corporation, partnership, association or any other legal or commercial entity,

whether or not a citizen or domiciliary of the District of Columbia and whether or

not organized under the laws of the District of Columbia.” Id. §13-421.

      Paxton’s threshold objection to jurisdiction is that neither provision may reach

him because he is not a “person.” Paxton’s argument thus implicates a longstanding

“open question” as to whether a D.C. court may “exercise personal jurisdiction over

[a state] official sued under Ex Parte Young” on the theory that such a defendant is

a “person.” West v. Holder, 60 F. Supp. 3d 190, 196 (D.D.C. 2014); see also, e.g.,

Trump v. Comm. on Ways & Means, 415 F. Supp. 3d 98, 106 (D.D.C. 2019).

      Based on Supreme Court and Circuit precedent, the district court concluded

that state officers sued under Young are “persons” under §13-421, and so may be

subject to D.C. courts’ personal jurisdiction where one of the long-arm statute’s



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substantive provisions is satisfied.

             2.     State officers sued under Ex Parte Young are “persons”
                    subject to D.C.’s long-arm jurisdiction.

      For several related reasons, the District Court was correct in concluding that

Young defendants are “persons” under §13-421.

      Text and context. Read against its historical context, the text of §13-421

clearly reaches Young defendants. That text extends the jurisdiction of the D.C.

courts to, among other defendants, “person[s]” and “individual[s].” Over a century

ago, the Supreme Court explained in Young that when an a “state attorney general”

seeks to take an action that would be “a violation of the Federal Constitution, the

officer … comes into conflict with the superior authority of the Constitution, and he

is in that case stripped of his official or representative character and is subjected in

his person to the consequences of his individual conduct.” Ex Parte Young, 209 U.S.

123, 159–60 (1908) (emphasis added). Suits like this one are thus understood to be

“brought against [the] defendant not as a representative of the state but to restrain

him individually.” Ex Parte La Prade, 289 U.S. 444, 455 (1933) (emphasis added).

And courts must “assume that, when Congress enacts statutes, it is aware of relevant

judicial precedent.” Merck & Co. v. Reynolds, 559 U.S. 633, 648 (2010).

      By 1970, when Congress enacted §13-421, Congress “would have understood

that the term ‘person’ included official-capacity defendants in suits involving


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injunctive relief.” JA793. Such had been the rule, at that juncture, for over half a

century. Absent a clear indication that Congress intended to strip D.C. courts of such

jurisdiction—and Paxton has not identified any such indication—the most natural

reading of the term “person” in §13-421 encompasses Young action defendants.

      Case law. Case law from the Supreme Court bolsters this reading. In 1989,

the Supreme Court held that when sued for damages, official-capacity state-officer

defendants are not “persons” as that term is used in 42 U.S.C. §1983. Will v. Mich.

Dep’t of State Police, 491 U.S. 58, 64 (1989). But the Court made clear in the very

same passage that, under Young, “when sued for injunctive relief,” a state official

acting in an official capacity “would be a person under § 1983 because ‘official-

capacity actions for prospective relief are not treated as actions against the State.’”

Id. at 71 n.10 (emphasis added) (quoting Kentucky v. Graham, 473 U.S. 159, 167

n.14 (1985), and citing Young, 209 U.S. at 159–60). The Supreme Court labeled this

distinction based on the nature of the relief sought “commonplace” and one that

“would not have been foreign to the 19th-century Congress that enacted § 1983.” Id.

(citations omitted).

      Will applied the logic of Young to conclude that the term “person” in a statute

enacted by Congress, §1983, reached official capacity defendants. It follows that

“person” should be read the same way in §13-421, another statute enacted by



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Congress. After all, Will makes clear that Congress has understood “person” to

encompass such defendants for well over a century. As the district court put it, “[i]f

the post-Civil War Congress that enacted § 1983 would have understood the term

‘person’ to include state officials sued for injunctive relief, the Congress that enacted

the D.C. long-arm provision nearly a century later would have as well.” JA794.

      Case law from this Court is in accord. In 1995, this Court applied Will to hold

the United States could not “establish jurisdiction over New Mexico” because States

are not “persons” under the statute. Ferrara, 54 F.3d at 831–32. But the Court

expressly stated it did not need to reach whether “a State official sued in his official

capacity should be treated as if he were the State for jurisdictional purposes.” Id. at

831. In fact, the bulk of the opinion was spent assessing whether Ms. Ferrara—an

official-capacity defendant—satisfied §13-423(a)(1). Id. at 828–31. While this Court

determined that she did not as a factual matter, id. at 830, its analysis assumed that

official capacity defendants may sometimes satisfy the long-arm statute. The Court’s

differing treatment of New Mexico—not a “person” subject to the long-arm

statute—and New Mexico’s officer, Ms. Ferrara—subject to, but not satisfying, the

long-arm statute—perfectly reflects the holding in Will. See 491 U.S. at 71 & n.10.

Accordingly, the district court here had no difficulty reconciling Will with Ferrara—

it applied the portion of Will’s analysis of the term “person” that this Court in



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Ferrara assumed without adopting. JA793–95.

         Practical effects. Any other reading of “person” would leave D.C. courts in a

jurisdictional quagmire. As noted above, §13-421’s definition of person underpins

D.C.’s entire civil jurisdictional scheme, not just the specific jurisdiction statute. See

D.C. Code §§13-422, -423. As the district court recognized, adopting Paxton’s

reading of “person” would “upend years of settled jurisdictional understanding.”

JA841. For instance, D.C. courts would lose jurisdiction over federal officials who

maintain primary places of business in the District. 3 That cannot be right—as this

Court knows well, such exercise of jurisdiction is routine. For example, this Court

has confirmed that D.C. courts have general jurisdiction under §13-422 over the

Director of the Federal Bureau of Prisons, whose “office [is] located in the District.”

Cameron v. Thornburgh, 983 F.2d 253, 257 n.4 (D.C. Cir. 1993).

         The problems do not stop there. Under Paxton’s reading, D.C. courts would

also lose jurisdiction over the officials of certain local government agencies, such as

WMATA. Yet in Hedgepeth ex rel. Hedgepeth v. WMATA, this Court held,

consistent with Will, that such officials may be sued for injunctive relief even though

WMATA otherwise enjoys sovereign immunity. 386 F.3d 1148, 1152 n.3 (D.C. Cir.




3
    The federal government, like the states, is not a “person.”

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2004) (Roberts, J.). As then-Judge Roberts explained, although “a state level

governmental entity” such as WMATA might not qualify as a “‘person’ subject to

liability under 42 U.S.C. § 1983,” the agency’s official-capacity officers are

“person[s]” as that term is used in §1983 “when sued for injunctive relief.” Id.

(quoting Will, 491 U.S. at 71 (n.10)). Such suits would be rendered jurisdictionally

invalid if official-capacity defendants sued for injunctive relief were “persons” under

§1983 but not the long-arm statute. Similarly, D.C. courts would lose the D.C.

version of the §1983 injunctive jurisdiction sanctified in Will—injunctive

jurisdiction over federal officials acting under color of D.C. law. See, e.g., Roy v.

Fulwood, No. 09-cv-463-HHK, 2010 WL 610275, at *2 (D.D.C. Feb. 22, 2010)

(exercising “long-arm personal jurisdiction” over the Chairman of the U.S. Parole

Commission “with respect to his duties under the D.C. Revitalization Act”). For

decades, courts deciding these classes of cases have assumed that the defendant

officers were “person[s]” subject to D.C. jurisdiction. Paxton proposes to throw

these cases out of D.C.’s courts. The district court properly refused to invite such

“absurd results.” JA795 (quoting Mova Pharm. Corp. v. Shalala, 140 F.3d 1060,

1068 (D.C. Cir. 1998)).

      In fact, the ramifications of adopting Paxton’s rule would be even more absurd

than the district court recognized. The court assumed that the jurisdiction-stripping



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effect of Paxton’s crabbed construction of “person” would be limited to suits against

“non-resident” officials. JA841–42. But no D.C. statute creates any such limit.

Section 13-422 is one of only “[t]wo District of Columbia statutes [that] provide for

general jurisdiction.” Erwin-Simpson v. AirAsia Berhad, 985 F.3d 883, 889 (D.C.

Cir. 2021). The other, D.C. Code §13-334, is a narrow provision granting jurisdiction

over “foreign corporation[s] doing business in the district.” And Media Matters has

located no case in which a D.C. federal court, in assessing its own jurisdiction under

Rule 4(k)(1)(A), has invoked any D.C.-law basis for general jurisdiction other than

sections 13-422 or -334. Thus, where it exists, D.C. courts’ personal jurisdiction over

even officers who reside in the District appears to arise only under sections 13-421

and -422—both of which require the defendant to be a “person.” In his rush to avoid

judicial oversight of his retaliatory campaign, Paxton is asking this Court to gut the

equity jurisdiction of the D.C. courts.

             3.     Paxton’s contrary arguments fail.

      Paxton musters little to justify sowing such chaos, or to refute the district

court’s thorough analysis. Remarkably, he says not one word about the dire practical

consequences his theory would have in other cases. See Br.15–20 (ignoring this

issue). Paxton cannot demand that this Court transform the civil jurisdiction of the

D.C. courts without even considering practical implications of his novel theory.



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       And what little Paxton does say about the definition of “person” falls apart on

inspection. Paxton first asserts that Young is “a gloss on an immunity,” while the

D.C. long-arm statute is just “a statute.” Br.19. But as shown above, §I.A.2, Will

employed Young’s “gloss” to interpret another statute—42 U.S.C. §1983—that uses

the same term: “person.” Tellingly, although Paxton’s brief cites Will on the very

same page, Br.19, he omits any mention of Will’s application of Young to conclude

a “a state official in his or her official capacity, when sued for injunctive relief, would

be a person under § 1983,” Will, 491 U.S. at 71 n.10 (emphasis added). Instead, he

selectively quotes Will’s analysis of damages suits as if the passage in question

concerned injunctive suits. Br.16 (quoting Will, 491 U.S. at 71). This calculated

excerpting of Will ignores its discussion distinguishing the two kinds of suits in the

very same passage. See Will, 491 U.S. at 71 n.10. Paxton cannot plausibly claim to

have overlooked that discussion—it was the crux of the district court’s analysis. See

JA793–94 (quoting Will, 491 U.S. at 71 n.10).

       Paxton next claims that courts “have held for decades” that the D.C. long-arm

statute “does not reach the conduct of … state officials”—but cites three cases that

did not decide whether state officials are “persons” under §13-421. Br.19; see

Ferrara, 54 F.3d at 831–32 (holding that New Mexico was not a “person”); Trump,

415 F. Supp. 3d at 106 (noting an “open question” about whether Young defendants



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are “persons” under the long-arm statute); Pollack v. Meese, 737 F. Supp. 663, 666

(D.D.C. 1990) (not discussing the “person” requirement at all). Why Paxton thinks

these cases help his argument is a mystery.

      Paxton also invokes two “canons of textual interpretation,” Br.17, which the

district court rightly found to be “of no help here.” JA796–97. The first, expressio

unius, is irrelevant. That canon does not clarify the meaning of included terms—

here, “person” and “individual”—it just excludes unincluded terms. The district

court held that the terms “person” and “individual” encompassed Young defendants,

rendering the canon inapplicable. The second, noscitur a sociis, directs courts to

determine the meaning of an ambiguous term from surrounding terms, but the

district court rightly concluded that the statute’s use of “person” was not ambiguous.

If anything, noscitur a sociis supports the district court’s construction of the statute.

Section 13-421’s recitation of those it reaches is a comprehensive list of possible

civil defendants: it includes any “individual, his executor, administrator, or other

personal representative, or a corporation, partnership, association, or any other legal

or commercial entity.” D.C. Code §13-421 (emphasis added).

      Grasping at straws, Paxton closes his analysis of the term “person” with vague

concerns about federalism. Br.19–20. Such arguments shed no light on statutory

meaning. And Paxton is the only actor whose conduct in this case threatens the



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“‘usual constitutional balance’ among sovereigns.” Br.19. Paxton asserts a

boundless form of nationwide jurisdiction, seeking to misuse a Texas consumer-

protection statute to punish a news organization in D.C. for D.C.-based reporting.

As the district court explained, given Paxton’s territorial overreach, exercising

jurisdiction over him in this case is “reasonable ‘in the context of our federal system

of government.’” JA801 (quoting World-Wide Volkswagen v. Woodson, 444 U.S.

286, 293(1980)). 4

      B.     Paxton’s conduct satisfies three different prongs of the D.C. long-
             arm statute.

             1.      Paxton transacted business in D.C., satisfying subsection
                     (a)(1).

      D.C. Code §13-423(a)(1) creates jurisdiction over claims “arising from” a

person’s “transacting any business” in D.C. either “directly or by an agent.” This

prong provides “jurisdiction to the full extent allowed by the Due Process Clause.”




      4
         If the Court is inclined to agree with Paxton’s construction of the long-arm
statute, it should certify a question to the D.C. Court of Appeals. See D.C. Code §11-
723(a). This Court certifies questions “when ‘District of Columbia law is genuinely
uncertain’ and the question is of ‘extreme public importance.’” Companhia
Brasileira Carbureto de Calicio v. Applied Indus. Materials Corp., 640 F.3d 369,
373 (D.C. Cir. 2011) (Kavanaugh, J.) (citation omitted) (certifying a question about
long-arm jurisdiction). This is such a case, as Paxton’s construction would
significantly alter the jurisdiction of D.C. courts and raise doubts about longstanding
precedent. See supra §I.A.2.

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Urquhart-Bradley v. Mobley, 964 F.3d 36, 44 (D.C. Cir. 2020) (citation omitted).

Thus, the Court may proceed directly to the due-process analysis if it determines that

Media Matters’s claims arise out of Paxton’s transacting of business here.

       The D.C. Court of Appeals has instructed that the “words ‘transacting any

business’ should be given an expansive interpretation.” Mouzavires v. Baxter, 434

A.2d 988, 992 (D.C. 1981). The provision embraces any “contractual activities of a

nonresident defendant which cause a consequence” in D.C. Id. Even “‘a single act

may be sufficient to constitute transacting business’ so long as that contact is

‘voluntary and deliberate, rather than fortuitous.’” Jackson v. Loews Washington

Cinemas, Inc., 944 A.2d 1088, 1093 (D.C. 2008) (quoting Mouzavires, 434 A.2d at

992, 995).

      Paxton concedes that he hired an agent—a process server—and dispatched

that agent into D.C. to serve his retaliatory Demand, the subject of this lawsuit, on

Media Matters at its D.C. headquarters. That agent presented herself at Media

Matters’s D.C. office, called the organization’s president, and attempted to serve

him personally. JA498–99. Paxton’s agent then conferred several times with Media

Matters’s D.C.-based outside counsel, agreeing eventually to serve the Demand at

counsel’s D.C. offices. Id. The district court held that was “transacting … business”

under (a)(1), JA802–05, and that such conduct gave rise to Media Matters’s claims,



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see, e.g., JA08–10, JA26, JA35–39; accord Shoppers Food Warehouse v. Moreno,

746 A.2d 320, 335 (D.C. 2000). That conclusion was well founded: Paxton’s hiring

and dispatch of an agent to D.C. was a “contractual activit[y] … which cause[d] a

consequence” here, Mouzavires, 434 A.2d at 992, namely the chilling of Media

Matters’s protected speech.

      Paxton offers little to suggest his conduct does not bring him within (a)(1)’s

ambit. First, he asserts that “transacting business” requires an activity “like selling

someone something.” Br.27. Yet he concedes the opposite just a paragraph later,

correctly acknowledging that “this Court has established that ‘transacting business’

can encompass non-commercial conduct.” Br.27; see also JA803–04 (collecting

authority). In any case, contracting with a process server by exchanging money for

services is commercial conduct.

       Paxton next asserts that “mail and wire communications” do not count as

transacting business under (a)(1). Br.27. Maybe so, but that is not this case—Paxton

dispatched his agent directly into D.C. and that process server’s “in-forum acts are

imputed to [Paxton] as his ‘agent.’” JA806 (quoting D.C. Code §13-423(a)). The

cases Paxton cites do not say otherwise.

      Finally, Paxton faults the district court for relying on several abuse-of-process

cases. Br.28–29. But the district court did not rely on these cases to construe the



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phrase “transacting any business” in the D.C. statute. Rather, the district court found

the abuse-of-process cases persuasive authority as to two points: “[1] that the hiring

of a process server creates an agency relationship between the attorney and process

server, and [2] that relationship establishes the attorney’s presence in the jurisdiction

to satisfy the ‘minimum contacts’ requirement” under the Due Process Clause.

JA800 (emphasis added) (discussing authority). Paxton’s observation that some of

these cases involved long-arm language that does not resemble (a)(1) misses the

point.

         Because Paxton plainly “transacted … business” in D.C. that gave rise to

Media Matters’s claims, the Court may turn to the due process analysis without

considering other long-arm provisions. Infra §I.C.

               2.     Paxton caused tortious injury in D.C, satisfying subsections
                      (a)(3) and (a)(4).

         Paxton’s retaliatory conduct also “caus[ed] tortious injury” in D.C., satisfying

two further prongs of the long-arm statute. As the district court determined, Paxton’s

conduct satisfies (a)(3) because he caused “tortious injury in the District of Columbia

by an act or omission in the District of Columbia[.]” D.C. Code §13-423(a)(3); see

JA852–55. And although the district court had no cause to reach it, Paxton’s conduct

also satisfies (a)(4), which extends jurisdiction to a defendant who causes tortious

injury in D.C. “by an act or omission outside” D.C. provided he “engages in any …


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persistent course of conduct” here. D.C. Code §13-423(a)(4) (emphasis added).

      Section 13-423(a)(3). Application of this provision to Paxton is

“straightforward.” JA805. Paxton’s agent committed an act here: serving the

Demand. That act caused a tortious injury here: the chilling of Media Matters’s First

Amendment activities. Both cause and effect are imputed to Paxton, the principal

who directed the agent’s acts. JA806 (citing D.C. Code §13-423(a)). And the district

court properly relied on other cases where defendants used process to inflict injury,

as those cases consistently find long-arm jurisdiction on equivalent facts because the

agent’s inforum “act” is imputed to the principal. JA807 (collecting cases).

      Paxton argues that he committed no act within D.C. because he “printed the

[Demand] outside D.C. and mailed it to Media Matters via a process server.” Br.23

(emphasis added). That argument ignores a distinction from first-year civil

procedure: Authorizing personal service of process is not the same thing as mailing

something. See, e.g., Fed. R. Civ. P. 4(e)(2)(a), (i)(1)(B). A person authorizing

service is “physically present in [the] jurisdiction” through an agent. Schleit v.

Warren, 693 F. Supp. 416, 421 (E.D. Va. 1988); see also, e.g., Hamilton, Miller,

Hudson & Fayne Travel Corp. v. Hori, 520 F. Supp. 67, 70 (E.D. Mich. 1981);

Balsly v. W. Mich. Debt Collections, Inc., No. 3:11DV642, 2012 WL 628490, at *6

(E.D. Va. Feb. 27, 2012). Paxton’s attempt to equate his conduct with the



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circumstances in Moncrief v. Lexington Herald Leader Co., 807 F.2d 217, 218 (D.C.

Cir. 1986), where an allegedly defamatory article was “delivered by mail” to D.C.,

Br.23, ignores this same distinction.

      Paxton’s remaining arguments on this point are nonsensical. He suggests that

he “was not using service to establish personal jurisdiction over Media Matters but

to obtain information about … whether Texas could exercise jurisdiction.” Br.23.

But he does not say why that matters under (a)(3). Similarly, he suggests both that

“[u]nder D.C. law, delivery by a mail carrier is adequate for service,” Br.23, and—

a paragraph later—that “if there were a question of deficient service of process with

respect to the [Demand], Texas law would clearly apply,” Br.24. Even ignoring the

obvious tension, neither assertion bears on the (a)(3) analysis. Whether Paxton

needed to effectuate personal service of the Demand or not, he chose to do so. What

Paxton actually did—regardless of what he might have done—is what controls

personal jurisdiction.

      Finally, Paxton contends that Media Matters may not rely upon its “injury” as

the tortious “act” that creates jurisdiction. Br.25 (quoting Forras v. Rauf, 812 F.3d

1102, 1107 (D.C. Cir. 2016)). It has not. The act is service; the injury is the

documented chill. JA858–60, 865–66; see supra §1.B.1. As the district court

explained, Paxton committed “an identifiable act (physically serving the [Demand]



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on Media Matters) that is separate from the claimed injury (chilling of First

Amendment rights).” JA808. Subsection (a)(3) thus confers jurisdiction.

      Section 13-423(a)(4). Even assuming Paxton’s tortious acts occurred

exclusively in Texas, D.C. courts have long-arm jurisdiction over him because

Paxton is “causing tortious injury” in the District while also engaged in a separate

“persistent course of conduct” here. D.C. Code §13-423(a)(4). The district court did

not reach (a)(4) given the other strong bases for long-arm jurisdiction; nonetheless,

this Court may affirm on “any basis adequately preserved in the record below.” U.S.

ex rel. Heath v. AT&T, Inc., 791 F.3d 112, 123 (D.C. Cir. 2015). Here, Media Matters

developed a sufficient record to establish jurisdiction under (a)(4). JA474–75.

Paxton’s brief—which leads with this prong, even though the district court did not

reach it—misstates that record and the law.

      Under (a)(4), the “persistent course of conduct” requirement “is satisfied by

connections considerably less substantial than those it takes to establish general, all-

purpose ‘doing business’- or ‘presence’-based jurisdiction.” Crane v. Carr, 814 F.2d

758, 763 (D.C. Cir. 1987) (R.B. Ginsburg, J.). “The ‘something more’ or ‘plus

factor’ does not itself supply the basis for the assertion of jurisdiction,” but rather

serves to “filter out cases in which the inforum impact is an isolated event.” Id.

Accordingly, courts consider “the totality of defendants’ contacts,” aggregating even



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contacts that do not relate to one another or to the subject matter of plaintiffs’ claims.

Lewy v. S. Poverty Law Ctr., Inc., 723 F. Supp. 2d 116, 126 (D.D.C. 2010)

(collecting cases). The contacts must be “continuing in character” to permit

jurisdiction, but “need not be great.” Hindu Am. Found v. Viswanath, 646 F. Supp.

3d 78, 94 (D.D.C. 2022) (cleaned up).

      Extensive record evidence showed Paxton engages in a persistent course of

conduct in D.C. through “(i) regular speaking engagements and attending rallies in

the District (both by Paxton himself and agents in his office), (ii) voluntary and

frequent participation in litigation in D.C. courts, and (iii) numerous campaign-

related activities, such as fundraising and disbursing campaign funds.” JA474–75.

On the first point, Media Matters identified at least nine events in recent years in

which Paxton or his deputies voluntarily availed themselves of D.C. for speaking

engagements—including two separate engagements concerning content moderation

on social media, the topic of Media Matters’s reporting that led to this case. JA475.

On the second point, Paxton often avails himself of the privilege of participating in

litigation in D.C.’s courts as an amicus or intervenor; he has “even staked out views

about the District of Columbia’s own policy choices, including whether it could

pursue actions under D.C. law in D.C. courts.” JA476 (citing Paxton’s amicus

participation in District of Columbia v. Exxon Mobil Corp., 89 F.4th 144, 157 (D.C.



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Cir. 2023)). Paxton cannot complain about being subjected to the D.C. courts’

jurisdiction when he routinely visits the District as suits his agenda.

       Paxton refutes none of this. See Br.21 (ignoring the detailed analysis of

Paxton’s D.C. contacts in the record below, JA474–78). Instead, he argues only that

the persistent course of conduct must be “relevant to this case” for (a)(4) to apply.

Br.21. That is simply not true: the plus factor “does not itself supply the basis for the

assertion of jurisdiction.” Crane, 814 F.2d at 763; see also Br.21 (quoting only the

second half of this sentence). Moreover, courts regularly hold that conduct akin to

Paxton’s satisfies the “plus factor” requirement. See Lewy, 723 F. Supp. 2d at 128.

       While the Court need not reach (a)(4) to affirm, Paxton’s failure to engage

with the record or governing law supplies a ready basis to do so. Heath, 791 F.3d at

123.

       C.    Paxton may be haled into D.C. court without violating due process.

       Because Paxton’s conduct brings him within three discrete prongs of the long-

arm statute, personal jurisdiction exists so long as “the exercise of personal

jurisdiction comports with the Due Process Clause.” Urquhart-Bradley, 964 F.3d at

44. The district court correctly found that both Paxton’s transaction of business here,

JA799–802, and his tortious conduct here, JA805–08, provided the necessary

“minimum contacts” between Paxton and the forum such that he “should reasonably



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[have] anticipate[d] being haled into court” here, JA846 (quoting Thompson Hine,

LLP v. Taieb, 734 F.3d 1187, 1189 (D.C. Cir. 2013)). These contacts confirm that

Paxton “purposefully avail[ed] [him]self of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.’” Id.

(quoting Thompson Hine, 734 F.3d at 1187).

             1.    Paxton’s transacting of business in D.C. was purposeful
                   availment.

      The district court properly held that Paxton’s transacting of business in D.C.

through his agent constituted purposeful availment of this forum for two

independently sufficient reasons. JA846–49. First, courts consistently hold that

service of process in a forum subjects the person authorizing the service to claims

arising therefrom. See, e.g., Balsly, 2012 WL 628490, at *5–7; Schleit, 693 F. Supp.

at 419–20; Hori, 520 F. Supp. at 70. Balsly held that minimum contacts existed

where defendants “hired a process server and instructed him to serve” an abusive

lawsuit at the plaintiff’s Virginia place of employment. 2012 WL 628490, at *6.

Schleit similarly concluded that “a lawyer who knowingly serves abusive process in

a jurisdiction may expect to be haled into court where service was effectuated, since

by such action he is ‘purposely availing himself of the privilege of conducting

activities within the forum State.’” 693 F. Supp. at 422–23 (quoting Luke v. Dalow

Indus., Inc., 566 F. Supp. 1470, 1472 (E.D. Va. 1983)).


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      This rule makes good sense. One should “reasonably anticipate being haled

into court,” World-Wide Volkswagen, 444 U.S. at 297, where one’s agent establishes

a physical presence. After all, “physical entry into the State—either by the defendant

in person or through an agent … is certainly a relevant contact,” Walden v. Fiore,

571 U.S. 277, 285 (2014) (emphasis added). And process servers operating in D.C.

enjoy “the benefits and protections of its laws.” Hanson v. Denckla, 357 U.S. 235,

253 (1958). For instance, a host of civil and criminal laws shield process servers

working in D.C. from threats, assault, or other acts of retaliation by the subjects of

their service attempts. See, e.g., D.C. Code §22-407.

      Paxton, for his part, cites no case holding that directing an agent to serve

process in a forum does not establish constitutionally adequate minimum contacts.

Br.27–29. And, as explained, Paxton mistakenly understands the district court to

have relied on service-of-process cases to discern the scope of the D.C. long-arm

statute. Br.28–29. He therefore fails to distinguish the minimum-contacts analysis in

those cases—the analysis the court actually adopted.

      Second, Paxton’s service of the Demand “established a future course of

dealing with a D.C. resident.” JA800 (citing Burger King Corp. v. Rudzewicz, 471

U.S. 462, 478 (1985)). As the district court pointed out, JA800–01, Texas law

entitles Media Matters to produce records subject to the Demand “for inspection and



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copying during normal business hours at the[ir] principal office or place of

business.” Tex. Bus. & Com. Code §17.61(e). Such production (and ensuing

inspection) would have occurred at Media Matters’s D.C. headquarters. Paxton’s

brief ignores this inconvenient fact, although it was clearly a “contemplated future

consequence[]” of his choice to serve the Demand here. Burger King, 471 U.S. at

479. Because his service of the Demand committed him to “a potentially long course

of dealing in the District,” Paxton should have “foreseen that he would be called into

court here.” JA801.

      Although Paxton asserts that exercising jurisdiction here raises “constitutional

concerns,” Br.29, he fails to explain those concerns in detail. Instead, he cites yet

more cases concerning “use of the mails.” Br.31 (quoting Rambo v. Am S. Ins. Co.,

839 F.2d 1415, 1418 (10th Cir. 1988)). As discussed above, at 35–36, such cases are

inapposite.

              2.   Paxton’s directing of a tort at D.C. was purposeful availment.

      Paxton’s tortious conduct directed at D.C. provides an independent basis to

hold that he may be subjected to personal jurisdiction here consistent with due

process. See JA806. In intentional-tort cases, “minimum contacts exist where a

defendant takes ‘intentional and allegedly tortious actions’ ‘expressly aimed’ at a

jurisdiction.” Urquhart-Bradley, 964 F.3d at 48 (quoting Calder v. Jones, 465 U.S.



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783, 789 (1984)); see also Calder, 465 U.S. at 788–89.

      Under this standard, Paxton’s own home Circuit has held that Texas could

exercise personal jurisdiction over New Jersey’s attorney general for claims arising

from a demand letter he sent into Texas. Grewal, 971 F.3d at 496–97. By doing so,

he “projected himself across state lines and asserted a pseudo-national executive

authority” to inflict harmful “intended effects on the plaintiffs” in Texas. Id. at 493.

The Fifth Circuit reasoned that the New Jersey attorney general had purposefully

availed himself of Texas because he “intentionally mailed the cease-and-desist letter

into Texas,” and because “that contact alone gave rise to distinct tort causes of

action.” Id. at 495. The Fifth Circuit held those facts, on their own, constituted

minimum contacts. Id. So too here—Paxton intentionally served a retaliatory

Demand on Media Matters in D.C., and that contact gave rise to Media Matters’s

tort claims. Indeed, the basis for jurisdiction here is even stronger; unlike in Grewal,

Paxton directed an agent into D.C., not just a letter.

      Paxton offers no response whatsoever to this basis for personal jurisdiction,

although the district court discussed it at length. JA806. Elsewhere, Paxton purports

to distinguish Grewal on the grounds that the New Jersey attorney general was

seeking to prevent the Texas entity from publishing its materials anywhere, while he

is “just inquiring into whether Media Matters has made false, deceptive, or



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misleading statements that were aimed at Texas.” Br.20. The district court found

otherwise: Paxton’s Demand is chilling Media Matters from publishing about Musk

and X, and Paxton intended for the Demand to cause that effect. JA815–19. Paxton

identifies no basis to conclude those findings were clear error. See Huisha-Huisha,

27 F.4th at 726. Nor does he explain how this assertion—which concerns the merits

and appears at the end of his discussion of the statutory term “person”—could

possibly distinguish Grewal’s due-process analysis. It cannot.

II.   D.C. federal court is a proper venue.

      D.C. is a proper venue for this case because “a ‘substantial part of the

events … giving rise to the claim’ occurred here: physical service of the [Demand]

on Media Matters and the chilling effect that ensued.” JA815 (quoting 28 U.S.C.

§1391(b)(2)). Paxton himself cited such ties to argue that D.C. was the appropriate

venue in the Maryland proceeding. Supra Statement, §II.A.

      Paxton relies on Leroy v. Great Western United Corp., 443 U.S. 173, 185–86

(1979), yet admits, Br.32, that Leroy was decided before Congress revised the venue

statute to make clear “that venue can be appropriate in more than one district,” Gulf

Ins. Co. v. Glasbrenner, 417 F.3d 353, 356 (2d Cir. 2005). “Leroy is of limited, if

any, significance now.” 14D Wright & Miller, Fed. Prac. & Proc. §3802 (4th ed.).

Paxton’s only contrary authority is a one-paragraph unpublished order from the



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Ninth Circuit. See Br.33 (citing Dedication & Everlasting Love to Animals v. Pa.

Bureau of Charitable Orgs., 101 F. App’x 224 (9th Cir. 2004) (mem.)). 5

III.   Media Matters’s ongoing chill is a justiciable injury ripe for relief.

       Granting Media Matters relief in this case requires nothing more than the

application of settled principles. The ongoing, irreparable chill of Media Matters’s

First Amendment activities is a justiciable injury ripe for relief. And a federal

injunction is an appropriate remedy to that injury. Paxton’s contrary argument based

on Reisman v. Caplin, 375 U.S. 440 (1964), invents “a general rule” that challenges

to “non-self-executing-request[s] for documents” are not “justiciable in a pre-

enforcement posture.” Br.34. That so-called rule appears nowhere in Reisman itself.

And Paxton himself is careful not to be too specific about the precise doctrinal

principle he thinks Reisman stands for, conflating distinct concepts of justiciability,

ripeness, alternative remedies, and Younger abstention under the banner of a

convoluted “Reisman doctrine” that does not exist. The district court was not fooled,

and neither should this Court be. Reisman itself is about equity, not justiciability,

and is satisfied here. And Media Matters’s concrete and well-documented injury




5
 SEC v. Johnson, 650 F.3d 710 (D.C. Cir. 2011), is irrelevant. That case relied on
Leroy’s discussion of venue under “the special venue section of the Securities
Exchange Act,” 15 U.S.C. §78aa, and nowhere suggests Leroy controls the current
version of 28 U.S.C. §1391(b)(2). Johnson, 650 F.3d at 714–15.

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distinguishes the other cases Paxton clumps together under the Reisman heading.

      A.     Paxton misreads Reisman.

      The key premise of Paxton’s strained Reisman theory is that the case

established a categorical rule against the justiciability of pre-enforcement subpoena

challenges. Reisman did nothing of the sort. In Reisman, the IRS issued summonses

to an accounting firm directing it to testify and produce certain documents related to

a couple’s taxes. 375 U.S. at 441–42. Attorneys for the couple sought to enjoin the

accountants from complying with the summons. Id. To enforce the summons, the

IRS had to bring an action under §7402 of the Internal Revenue Code, id. at 445–46,

which authorizes enforcement by the district court in which the person subject to the

summons “resides or may be found,” 26 U.S.C. §7402(b). At the time petitioners

sued, no such enforcement action had been brought. Reisman, 375 U.S. at 444. The

Court ruled that because the petitioners had “an adequate remedy at law”—making

all the same arguments in a federal district court in their home jurisdiction—their

action was “subject to dismissal for want of equity.” Id. at 443.

      Paxton presents Reisman as a case about “justiciability.” Br.43. As the

foregoing summary makes clear, it is not. The Supreme Court in Reisman never used

that term, nor did it discuss ripeness, mootness, or the political question doctrine.

The only justiciability doctrine mentioned in Reisman at any point is “standing”—



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just once, when the Court recited issues it did not need to reach. 375 U.S. at 442–43.

      Instead, Reisman is a case about equity. Adequate alternative remedy is an

equitable doctrine, and the Court’s mandate to dismiss was “for want of equity,” not

for want of subject-matter jurisdiction. Id. Paxton’s failure to acknowledge this fatal

flaw in his theory of Reisman is inexplicable because the district court pointed out

the same flaw below: “Reisman concerns the adequacy of an alternative remedy and

has nothing to do with justiciability.” JA808; see also Donaldson v. United States,

400 U.S. 517, 525 (1971) (confirming that Reisman was about “adequate remed[ies]

at law,” not justiciability doctrines); cf. Twitter, Inc. v. Paxton, 56 F.4th 1170, 1178

(9th Cir. 2022) (explaining that Reisman did not concern ripeness).

      B.     Media Matters does not have an adequate alternative remedy.

      Media Matters does not have an adequate alternative to this case, so

Reisman—properly understood—does not bar relief. If anything, it does the

opposite. Reisman suggests that the equitable forum for contesting an investigative

subpoena prior to its enforcement is a proceeding in “the district court” where the

person under investigation “resides or is found.” 26 U.S.C. §7402(b); see Reisman,

375 U.S. at 445–46. That remedy is this case.

      By contrast, Paxton’s proposed alternative remedy—resisting the Demand in

a Texas state-court proceeding—would be inadequate in at least four respects. First,



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unlike in Reisman, where there “had not yet been an injury,” JA810, Media Matters

is already suffering an ongoing injury to its First Amendment rights, JA810–13; see

also infra §IV.B. It therefore cannot wait for Paxton to enforce; if it does, the

intolerable, ongoing chill of its First Amendment rights will persist unremedied until

Paxton elects to enforce in Texas court. A remedy that requires a media organization

to sit under the sword of Damocles is not “adequate.”

      Second, to take matters into its own hands by filing an affirmative set-aside

action in Texas, Media Matters would need to consent to personal jurisdiction in

Texas. Yet one of Media Matters’s claims is that it is not subject to Texas’s

jurisdiction. A remedy that requires a party to forfeit a meritorious claim is not

“adequate.”

      Third, Paxton is not the only defendant in this action. Missouri Attorney

General Bailey, who says he is coordinating with Paxton, is facing all the same

claims. And Media Matters could not litigate against Bailey in Texas (nor against

Paxton in Missouri). Only by suing at home in D.C. is Media Matters able to get

complete relief, in a single forum, from Paxton and Bailey’s coordinated campaign

of retaliation. A remedy that requires a party to sue in two separate foreign

jurisdictions is not “adequate.” Cf. Reed Enters. v. Corcoran, 354 F.2d 519, 520

(D.C. Cir. 1965).



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      Fourth, Paxton himself represents that the relief available in Texas would be

very limited. He purports to enjoy “broad discretion” unbounded even “by the Texas

Rules of Civil Procedure” to demand documents in any Texas proceeding. JA210.

And he claims that under Texas law a demand recipient must establish “zero

permissible justifications for the investigation” to evade compliance. JA210. Taking

Paxton at his word, a Texas remedy would be no remedy at all.

      More broadly, Paxton has never identified any case—not below and not, for

all his dissembling about Reisman’s “progeny,” in this Court—holding that “an

exclusive remedy in foreign state court is an adequate remedy at law.” JA810

(emphasis added). Like Reisman, both Anheuser-Busch, Inc. v. FTC, 359 F.2d 487,

490 (8th Cir. 1966), and Atlantic Richfield Co. v. FTC, 546 F.2d 646, 648–49 (5th

Cir. 1977), concerned pre-injury challenges in cases where an alternative remedy

was available in a federal court with jurisdiction over the subject of the investigation.

And United States v. Kulukundis, 329 F.2d 197, 198–99 (2d Cir. 1964), involved the

same tax-enforcement provisions as Reisman itself. None of these cases suggests

that subjecting oneself to a foreign state court is an adequate remedy. As for Paxton’s

remaining citations, those cases turn out to be about distinct doctrines, as explained

in the following section.




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      C.     This case is justiciable.

      Media Matters has made a ripe claim for relief from a cognizable First

Amendment injury. Under Article III, a “claim is premature and therefore unripe for

judicial review if it depends on ‘contingent future events that may not occur as

anticipated, or indeed may not occur at all.’” Saline Parents v. Garland, 88 F.4th

298, 306 (D.C. Cir. 2023) (quoting Trump v. New York, 592 U.S. 125, 131 (2020)).

To assess ripeness, this Court evaluates “(1) the fitness of the issues for judicial

decision and (2) the hardship to the parties of withholding court consideration.” Id.

(quoting Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003)).

In the First Amendment context, “a sufficient showing of self-censorship, which

occurs when a claimant is chilled from exercising his right to free expression,” is

cognizable in federal court. Edgar v. Haines, 2 F.4th 298, 310 (4th Cir. 2021)

(cleaned up). Such a “First Amendment claim may be ripe for review even before

the government has taken enforcement action” if the plaintiff alleges an objectively

reasonable chill. Kramer v. Grossman, No. 13-cv-1745-ELH, 2014 WL 937146, at

*8–9 (D. Md. Mar. 10, 2014).

      The district court rightly found that Media Matters had already suffered

substantial hardship in the absence of a judicial adjudication of its retaliation claim.

JA811–13, 818–20. In particular, the court found that Media Matters had suffered



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and would continue to suffer from a “profound chilling impact” sufficient to

constitute irreparable harm. JA811. This Court reviews that finding for clear error,

Huisha-Huisha, 27 F.4th at 726, and Paxton offers no basis to disturb it, see infra

§IV.B. The same facts that show Media Matters’s substantial hardship also establish

the “fitness of the issues for judicial decision.” Saline Parents, 88 F.4th at 306. The

relevant facts—Paxton’s retaliatory motive in issuing the Demand and Media

Matters’s injuries—are alleged concretely in the complaint and established by the

record, not “contingent” allegations about the future. Id. They are therefore fit for

decision, and Media Matters’s First Amendment claim is ripe for relief.

      This analysis distinguishes many of the cases Paxton mistakenly treats as

“Reisman” cases. See Belle Fourche Pipeline Co. v. United States, 751 F.2d 332,

334 (10th Cir. 1984) (deciding “whether the dispute is sufficiently developed or

‘ripe’ to create subject matter jurisdiction”); Google, Inc. v. Hood, 822 F.3d 212,

226 (5th Cir. 2016) (deciding whether a “non-self-executing subpoena” is “ripe for

review”); CBA Pharma, Inc. v. Perry, No. 22-5358, 2023 WL 129240, at *3 (6th

Cir. Jan. 9, 2023) (deciding “whether a pre-enforcement challenge is ripe”); Saline

Parents, 88 F.4th at 307. Although several of these cases reject pre-enforcement

challenges to investigative subpoenas, none is remotely similar to this case on the

facts. In particular, none involved an already-realized First Amendment injury. The



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decisive fact here is that “Plaintiffs’ constitutional injury—the chilling effect on their

First Amendment rights—has occurred and is ongoing.” JA810.

      Although Paxton relied heavily on it below, he backs away from Twitter, Inc.

v. Paxton, 56 F.4th 1170, on appeal—no doubt because it bolsters Media Matters’s

ripeness argument. Twitter, like this case, concerned a challenge to a civil

investigative demand issued by Paxton’s office. The Ninth Circuit found that

Twitter’s allegations did “not quite show chilled speech” because they were “vague

and refer[red] only to a general possibility of retaliation.” Id. at 1175 (emphasis

added). At most, the allegations suggested “financial costs and divert[ed] employee

time,” which are not injuries to speech or expression. Id. at 1179. The Ninth Circuit

therefore affirmed dismissal. Id. at 1176; see also JA813. Here, the facts are very

different—Media Matters’s complaint alleged chill in concrete detail with specific

illustrations, its preliminary injunction evidence confirmed those allegations, and the

injury in question is to its speech. Twitter is therefore distinct with respect to

cognizable injury. And in all other respects, the Ninth Circuit’s analysis in Twitter

supports granting relief here. In particular, the Ninth Circuit made quick work of the

Reisman argument Paxton has recycled here. The court explained that Reisman is

irrelevant where the alleged “constitutional injury has already occurred” because

“there is no way for [the plaintiff] to avoid that alleged injury by challenging the



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document request later.” Id. at 1178–79. And it agreed with the district court’s

conclusion that “injury in the form of [an] objectively reasonable chilling of []

speech” is actionable even “prior to [a] CID’s enforcement.” Id. at 1178 n.3.

      Paxton’s remaining authorities all concern non-particularized facial

challenges to broad government policies. For instance, Laird v. Tatum, 408 U.S. 1

(1972), dismissed a class action attempting to challenge “the Department of the

Army’s alleged ‘surveillance of lawful and peaceful civilian political activity.’” Id.

at 2. But the plaintiffs pointed to “no specific action of the Army against them” and

offered only “speculative apprehensiveness that the Army may at some future date”

surveil them. Id. at 9, 14. Unlike in Laird, Media Matters’s chill does not “arise

merely from [its] knowledge that a governmental agency was engaged in certain

activities.” Id. at 11. It arises, instead, because Media Matters is “presently []

subject” to the state-sponsored retaliation it is “challenging.” Id. Similarly, United

Presbyterian Church v. Reagan, 738 F.2d 1375, 1378 (D.C. Cir. 1984), concerned a

challenge to an executive order that issued “no commands or prohibitions to [the]

plaintiffs.” Paxton’s Demand issues a host of such commands, and the resulting chill

is particular to Media Matters. Accordingly, granting relief here will not open the

floodgates for every “person in the United States” to challenge any “investigative

technique” on First Amendment grounds. Contra Reporters Comm. for Freedom of



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Press v. Am. Tel. & Tel. Co., 593 F.2d 1030, 1070 (D.C. Cir. 1978) (op. of Wilkey,

J.) (declining to issue “extraordinary prospective relief” based on claims of “mere

possibility of future abridgment of rights”). Paxton’s extraordinary conduct,

including his gross territorial overreach and candid motives, limits the effect of any

holding here to similarly exceptional circumstances. 6

IV.   The District Court properly exercised its discretion in granting a
      preliminary injunction.

      The District Court properly analyzed the Winter factors and concluded that a

preliminary injunction was necessary to preserve the status quo. That decision was

not an abuse of discretion. Paxton only passingly contends otherwise. Br.45–49.

      A.     Media Matters is likely to prevail on the merits of its First
             Amendment claim.

      Media Matters is likely to prevail on the merits of its First Amendment

retaliation claim. Paxton’s argument that “retaliatory investigation” is not a valid

claim is both wrong and forfeited. And Media Matters has already made a strong

showing on the merits even at this early stage in the litigation—so strong, in fact,

that Paxton does not bother to contest two of the three retaliation elements.




6
 Younger abstention is inapplicable here because, as Paxton admits, there is no
ongoing state enforcement proceeding. Br.45.

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             1.    Media Matters has pleaded a valid First Amendment claim.

      Issuance and service of a civil investigative demand to retaliate against speech

violates the First Amendment. This Court should reject Paxton’s claim that such

conduct is not actionable. See Br.45–46. For starters, Paxton did not preserve the

argument. Paxton’s likelihood-of-success briefing below—which took up a single

page—did not question whether retaliatory investigation is actionable, nor did it cite

any cases suggesting otherwise. JA404–05. The district court did not abuse its

discretion by failing to consider an argument Paxton never made. See Murthy v.

Vilsack, 609 F.3d 460, 465 (D.C. Cir. 2010).

      Paxton is wrong regardless. To make out a retaliation claim, Media Matters

must show (i) that it engaged in “conduct protected under the First Amendment;”

(ii) that Paxon took “some retaliatory action” grave enough to “deter a person of

ordinary firmness” from speaking again; and (iii) “a causal link between the exercise

of a constitutional right and the adverse action.” Aref v. Lynch, 833 F.3d 242, 258

(D.C. Cir. 2016). Paxton does not rely on any case holding that issuance and service

of an invasive and baseless civil investigative demand may not be the “retaliatory

action” that satisfies the second element of this test. Nor would such a rule make

sense. The precise mechanism by which an official inflicts a retaliatory injury may

bear on causation, but nothing in the First Amendment or Supreme Court precedent



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justifies categorically exempting investigations from constitutional scrutiny.

      Paxton’s assertion that “several courts of appeals have foreclosed such a

claim” is breathtaking in its inaccuracy. See Br.46. All four cases he cites concern

qualified immunity—they hold only that, in various fact-bound contexts, the right to

be free from the specific sort of retaliatory investigation at issue was not clearly

established. See Archer v. Chisholm, 870 F.3d 603, 620 (7th Cir. 2017); Rehberg v.

Paulk, 611 F.3d 828, 850–51 (11th Cir. 2010); Thompsen v. Hall, 426 Fed. App’x

855, 858–59 (11th Cir. 2011) (per curiam); Sivella v. Township of Lyndhurst, No.

20-2342, 2021 WL 3356934, at *2 (3d Cir. Aug. 3, 2021). Qualified immunity is

irrelevant here, as this is an appeal from a grant of injunctive relief in a case with no

damages claims. And two of Paxton’s four cases are not even precedential, so they

could not have “foreclosed” anything at all. Most importantly, as Paxton admits, the

Supreme Court’s decision in Hartman v. Moore, 547 U.S. 250, 262 n.9 (2006),

expressly holds open the possibility that retaliatory investigation may be actionable

in certain circumstances.

              2.     Media Matters has made a strong showing on the merits.

       The strength of Media Matters’s likelihood of success follows directly from

the district court’s detailed factual findings. To reiterate, the elements of a retaliation

claim are (i) conduct protected under the First Amendment; (ii) a retaliatory action



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that would deter a person of ordinary firmness from speaking again; and (iii)

causation. Aref, 833 F.3d at 258. The preliminary injunction record shows that Media

Matters is likely to establish each element.

      Protected First Amendment conduct. Media Matters is a non-profit media

watchdog that publishes original analysis and investigative reporting. Those are core

First Amendment–protected activities. “The protection given speech and press” by

the First Amendment “assure[s] [an] unfettered interchange of ideas for the bringing

about of political and social changes desired by the people.” Roth v. United States,

354 U.S. 476, 484 (1957). This protection serves society at large as well as the

media: “A broadly defined freedom of the press assures the maintenance of our

political system and an open society.” Time, Inc. v. Hill, 385 U.S. 374, 389 (1967).

Here, the journalism that precipitated Paxton’s retaliatory campaign informed the

public about a powerful public figure—Musk—and issues of grave importance, such

as extremism on social media. This plainly satisfies Aref’s first element.

      Paxton halfheartedly suggests that Media Matters’s speech was not protected

because it was “mislead[ing].” Br.46–47. But Paxton did not put anything in the

record to support that assertion, so he cannot rely on it on appeal to refute Media

Matters’s likelihood of success.

      Deterrence. The mere “threat of invoking legal sanctions and other means of



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coercion, persuasion, and intimidation” is often sufficient to chill protected speech.

Playboy Enters. v. Meese, 639 F. Supp. 581, 585 (D.D.C. 1986) (quoting Bantam

Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963)). Texas law vests Paxton with broad

authority to punish Media Matters for noncompliance with the Demand. See, e.g.,

Tex. Bus. & Com. Code Ann. §§17.47, 17.62. The district court found that such

authority, along with the breadth and invasive nature of the Demand, satisfied the

deterrence element. JA816–17. Paxton made “no contrary argument” below, JA816,

and says nothing about this element on appeal, see Br.46–47.

      Causation. The district court properly determined that Media Matters met its

burden to show but-for causation. JA817–18. The evidence on this point was

overwhelming: Paxton’s press release tied the investigation directly to Media

Matters’s reporting about Musk and X, Paxton himself launched the investigation

by labeling Media Matters “a ‘radical anti-free speech’ and ‘radical left-wing

organization,’” and Paxton encouraged other attorneys general to launch retaliatory

investigations of their own—an invitation one of them accepted. JA817–18; see also

JA785 n.3. Paxton did not engage with this causation evidence below, nor did he

make out a sworn declaration to explain “his reasons for opening the investigation.”

JA818. And as with the deterrence element, he waives this element for purposes of

the appeal by failing to press any argument about it. See Br.46–47.



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      B.     Media Matters will suffer irreparable harm absent a preliminary
             injunction; Paxton will not.

      Paxton’s retaliatory Demand has inflicted irreparable harm on Media Matters

and will continue to do so absent injunctive relief. That district court’s finding on

this score was amply supported by affidavits describing how Media Matters, in

response to Paxton’s Demand, has refrained from publishing about certain topics,

has adopted much more cautious editorial practices, and is operating in a climate of

fear and self-censorship. JA811–13; supra Statement §II.D.

      The district court did not clearly err by crediting these submissions. Paxton

has never contested the truth of Media Matters’s “concrete and particularized

declarations.” JA813. And the only refutation evidence Paxton has mustered is a

handful of media appearances by Media Matters’s president—not a reporter or

editor—in which he briefly discussed X’s lawsuit and Paxton’s Demand, defended

the accuracy of the reporting, and indicated that Media Matters would vigorously

contest both cases. See Br.48–49; JA418–46. A public defense by an organization’s

apex executive in the face of a multifront legal attack does not mean that the outlet’s

line reporters or editors have not been chilled. Indeed, Hananoki has submitted

several affidavits extensively documenting his chill and Paxton has never offered

anything at all to refute his testimony.

      Paxton’s argument that Media Matters’s irreparable harm is “self-inflicted,”


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because they have not filed a set-aside action in Texas, Br.48, ignores the vital First

Amendment context. The district court found that Media Matters was “already

suffering First Amendment harm in the form of chilled protected activities.” That

injury was inflicted as soon as Paxton served the Demand—at that point, it was

already too late for Media Matters to avoid the injury “by challenging the document

request.” Twitter, 56 F.4th at 1179.

      Paxton’s own claim to be irreparably injured, on behalf of “the State of Texas

and its citizens,” Br.47, is hollow. The citizens of Texas will not suffer any injury if

their Attorney General is prevented from harassing a media organization that has no

link to Texas and is headquartered over a thousand miles away.

      C.     The public interest and balance of equities favor protecting D.C.
             journalists’ First Amendment rights and D.C. residents’ access to
             reporting.

      The remaining equitable factors favor Media Matters. Both are “established

when there is a likely First Amendment violation.” Centro Tepeyac v. Montgomery

County, 722 F.3d 184, 191 (4th Cir. 2013). And if “enforcement of an

unconstitutional law is always contrary to the public interest,” Karem v. Trump, 960

F.3d 656, 668 (D.C. Cir. 2020), so too is enforcement of an unconstitutional civil

investigative demand. Paxton, for his part, “cannot legitimately claim to be ‘harmed’

as a result of being restrained from illegal conduct.” Prysmian Cables & Sys. USA,



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LLC v. Szymanski, 573 F. Supp. 3d 1021, 1044–45 (D.S.C. 2021) (collecting cases).

“If anything, the system is improved by such an injunction.” Giovani Carandola,

Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002).

                                 CONCLUSION

      This Court should affirm the decision and order of the District Court.

Dated: July 10, 2024
                                           ELIAS LAW GROUP LLP

                                          By: /s/ Aria C. Branch
                                          Aria C. Branch
                                          Christopher D. Dodge
                                          Samuel T. Ward-Packard
                                          250 Massachusetts Ave. NW, Suite 400
                                          Washington, DC 20001
                                          Telephone: (202) 968-4652
                                          abranch@elias.law
                                          cdodge@elias.law
                                          swardpackard@elias.law

                                          Abha Khanna
                                          1700 Seventh Ave. Suite 2100
                                          Seattle, WA 98101
                                          Telephone: (206) 656-0177
                                          akhanna@elias.law




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                                    GIBSON, DUNN &
                                    CRUTCHER LLP

                                    Theodore J. Boutrous, Jr.
                                    333 South Grand Avenue
                                    Los Angeles, CA 90071
                                    Telephone: (213) 229-7000
                                    Email: tboutrous@gibsondunn.com

                                    Amer S. Ahmed
                                    200 Park Avenue
                                    New York, New York 10166
                                    Telephone: (212) 351-4000
                                    Email: aahmed@gibsondunn.com




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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the word limit of Federal Rule of Appellate

Procedure 32(a)(7)(B). From Introduction through Conclusion, excluding the

Pertinent Statutes, this brief contains 12,944 words. This brief also complies with

the typeface and type-style requirements of Federal Rule of Appellate Procedure

32(a)(5) and (6). This brief is set in 14-point Times New Roman, a proportionally

spaced typeface.

                                               /s/ Aria C. Branch
                                               Aria C. Branch



                         CERTIFICATE OF SERVICE

      On July 10, 2024, I filed a copy of the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                               /s/ Aria C. Branch
                                               Aria C. Branch




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